Case 2:96-cV-02520-.]PI\/| Document 852 Filed 08/10/05 Page 1 of 4 Page|D 1662

 

IN THE UNITED sTATEs DISTRICT coURT HUH’BY- wi_ac,
FOR THE wESTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION 05 AUG 10 PH v 21
MM"L§ !,,€ (".(U_D
DARIUS D. LITTLE, C&H<;qn%'?
§.¢.§,§§ m C‘W

 

Plaintiff,

V. NO. 96-2520 Ml/A

SHELBY COUNTY, TENNESSEE, et al.,

Defendants.

)
)
)
)
)
)
)
)
)
)

 

“AMENDED”
ORDER DIRECTING CLERK TO DISBURSE FUNDS

 

The Assistant to the Special Master in this case, Curtis J.
Shumpert, has submitted invoices for fees and expenses incurred
in connection with this matter in the amount of $22,628.00 for

the following months in 2003:

October: $2,450.00
November: $2,420.00
December: $2,450.00

and for the following months in 2004:

January: $2,676.00
February: $1,985.00
March: $1,635.00
April= $2,230.00
May= $1,520.00
June: $1,321.00
July: $1,015.00
August: $1,426.00
September: $1,500.00

 

Case 2'96-cV-O252O-.]PI\/| Document 852 Filed 08/10/05 Page 2 of 4 Page|D 1663

Accordingly, the Clerk of Court is directed to send the sum

of $22,628.00 to the Assistant Special Master, Curtis J. Shumpert

at, 3277 McCorkle Road, Memphis, Tennessee, 38116.

IT IS SO ORDERED THIS 20 DAY OF August, 2005.

to W &\QQ

Jo §§ MccALLA
UN TED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 852 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
August 11, 2005 to the parties listed.

 

 

Arthur E. Horne

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/1emphis7 TN 38103

Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Murray B. Wells

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/1emphis7 TN 38103

Kathleen Spruill

COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Financial Unit
FINANCIAL UNIT
167 N. Main St.
Room 242
1\/1emphis7 TN 38103

Case 2:96-cv-O2520-.]P|\/| Document 852

Brian L. Kuhn

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Robert L. Hutton
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

Filed O8/10/O5 Page 4 of 4 Page|D 1665

